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                         HOLLY E. ESTES, ESQ. #11797
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                         ANTHONY THOMAS and WENDI
                     6   THOMAS and AT EMERALD, LLC
                     7
                     8
                     9                                    UNITED STATES BANKRUPTCY COURT
                 10                                                      DISTRICT OF NEVADA
                 11                                                                 —ooOoo—
                 12      In Re:                                                               Case No. BK-N-14-50333-BTB
                                                                                              Case No. BK-N-14-50331-BTB
                 13      ANTHONY THOMAS and                                                   Chapter 11 Cases
                         WENDI THOMAS,
                 14                                                                           [Jointly Administered]
                 15      AT EMERALD, LLC,                                                     EX PARTE MOTION TO FILE
                                                                                              EXHIBIT “A” TO DECLARATION OF
                 16                           Debtors.                                        ANTHONY THOMAS IN SUPPORT
                                                                                              OF OPPOSITION TO MOTION TO
                 17                                                                           APPOINT CHAPTER 11 TRUSTEE
                                                                                              UNDER SEAL
                 18
                         ______________________________/
                 19
                                   Debtor, AT EMERALD, LLC, a Nevada limited liability company (hereinafter “AT
                 20
                         Emerald” or “Debtor”), by and through its undersigned counsel, Holly E. Estes, Esq., of the
                 21
                         Law Offices of Alan R. Smith, hereby files its Ex Parte Motion to File Exhibit “A” To
                 22
                         Declaration Of Anthony Thomas In Support Of Opposition To Motion To Appoint Chapter
                 23
                         11 Trustee Under Seal (“Motion”). This Motion is made and based upon Federal Rule of
                 24
                         Bankruptcy Procedure 9018, Local Rule 9018, the points and authorities set forth below, the
                 25
                         Declaration Of Anthony Thomas In Support Motion To Sell Assets Free And Clear Of Liens
                 26
                         And Motion to File Purchase and Sale Agreement Under Seal [DE 88] and Declaration of
                 27
                         Anthony Thomas In Support Of Ex Parte Motion To Seal And Replace Docket Entries 83,
                 28
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                     1   87, And 88 [DE 105], the pleadings and papers on file herein, and such other matters as may
                     2   be presented at the hearing hereon.
                     3                                              POINTS AND AUTHORITIES
                     4             A.         Background.
                     5             On June 23, 2014, the Debtor filed its Motion To Sell Assets Free And Clear Of Liens
                     6   And Motion to File Purchase and Sale Agreement Under Seal (the “Sale Motion”). Attached
                     7   to the Sale Motion as Exhibit “A” is a fully executed copy of the Purchase And Sale
                     8   Agreement (hereinafter the “Agreement”). Under the Agreement, the purchaser agrees to
                     9   purchase the Emerald for cash, payable at close of escrow. Pursuant to the Agreement, both
                 10      parties have requested that the purchase price not be disclosed in any public document, but
                 11      be filed with the Court under seal. Further, the purchaser has requested that its name and the
                 12      name of its authorized representative not be disclosed in any public document, but be filed
                 13      with the Court under seal.
                 14                This court has entered its Order Granting Ex Parte Motion To File Purchase And Sale
                 15      Agreement Under Seal [DE 89] wherein the Court granted the Debtor’s motion to file the
                 16      Purchase and Sale Agreement under seal. This court has also entered its Order Granting Ex
                 17      Parte Motion To Seal And Replace Docket Entries 83, 87, and 88 to remove the purchaser’s
                 18      identity from the pleadings on file on the public docket.
                 19                 Anthony and Wendi Thomas request that the purchase price remain undisclosed, and
                 20      the purchaser has requested that its name and the name of its authorized representative not
                 21      be disclosed in any public document. As set forth in 11 U.S.C. § 107(c), information need
                 22      not be disclosed if it would create undue risk of unlawful injury to the individual. As stated
                 23      in Collier on Bankruptcy, ¶ 107.04 (16th ed.),
                 24                           Section 107(c) gives the court broad discretion to protect an
                                              individual with respect to any information, including identifying
                 25                           information, in a paper filed or to be filed with the court to the
                                              extent that the court finds that disclosure of the information
                 26                           would create an undue risk of identify theft or unlawful injury
                                              to the individual or the individual’s property.
                 27
                                              ...
                 28
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                     1                        Unlike section 107(b), section 107(c) requires a showing of
                                              cause. It does not require a request to the court; although most
                     2                        orders under the section will be initiated in that manner, the
                                              court can act sua sponte. There is also no requirement that a
                     3                        request be made by a party in interest. However, the protection
                                              of the subsection extends only to individuals, and only to
                     4                        prevent injury to the person or property of individuals.
                     5
                         In this case, disclosure of the actual purchase price poses a risk to the individual Debtors
                     6
                         Anthony and Wendi Thomas and is not necessary. Further, disclosure of the name of the
                     7
                         purchaser and the name of its authorized representative could poses a risk to the purchaser
                     8
                         and its authorized representative and is not necessary. Debtor will file under seal an non-
                     9
                         redacted copy of Exhibit “A” attached to the Declaration Of Anthony Thomas In Support Of
                 10
                         Opposition To Motion To Appoint Chapter 11 Trustee with the Court.
                 11
                                                                                CONCLUSION
                 12
                                   Accordingly, the actual purchase price and the name of the purchaser have been
                 13
                         redacted from the letter attached to the Declaration Of Anthony Thomas In Support Of
                 14
                         Opposition To Motion To Appoint Chapter 11 Trustee as Exhibit “A”, and the Debtor
                 15
                         requests that the purchase price and the purchaser identity remain confidential. It is in the
                 16
                         best interests of the individual Debtors, Anthony and Wendi Thomas, that the purchase price
                 17
                         remain confidential as disclosure of the actual purchase price poses a risk to the individual
                 18
                         Debtors and is not necessary. It is in the best interests of the purchaser and the purchaser’s
                 19
                         authorized representative, that their identity remain confidential as disclosure is not
                 20
                         necessary.
                 21
                                   DATED this 19th day of August, 2014.
                 22
                                                                                        LAW OFFICES OF ALAN R. SMITH
                 23
                                                                                        By:     /s/ Holly E. Estes
                 24                                                                       HOLLY E. ESTES, ESQ.
                                                                                          Attorney for Debtors
                 25
                 26
                 27
                 28
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